       Case 1:24-cv-00161-LG-BWR Document 26 Filed 07/01/24 Page 1 of 19



                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               SOUTHERN DIVISION

STATE OF TENNESSEE, STATE OF                   )
MISSISSIPPI, STATE OF ALABAMA,                 )
STATE OF GEORGIA, STATE OF                     )
INDIANA, STATE OF KANSAS,                      )
COMMONWEALTH OF KENTUCKY,                      )
STATE OF LOUISIANA, STATE OF                   )
NEBRASKA, STATE OF OHIO, STATE OF              )
OKLAHOMA, STATE OF SOUTH                       )
CAROLINA, STATE OF SOUTH DAKOTA,               )
COMMONWEALTH OF VIRGINIA, AND                  )
STATE OF WEST VIRGINIA,                        )
                                               )   Civil Action No. 1:24-cv-161-LG-BWR
       Plaintiffs,                             )
                                               )
 v.                                            )
                                               )
XAVIER BECERRA, in his official capacity       )
as Secretary of the United States Department   )
of Health and Human Services; UNITED           )
STATES DEPARTMENT OF HEALTH                    )
AND HUMAN SERVICES; MELANIE                    )
FONTES RAINER, in her official capacity as     )
the Director of the Office for Civil Rights;   )
CENTERS FOR MEDICARE AND                       )
MEDICAID SERVICES; and CHIQUITA                )
BROOKS-LASURE, in her official capacity        )
as Administrator of the Centers for Medicare   )
and Medicaid Services,                         )
      Defendants.

                      REPLY IN SUPPORT OF PLAINTIFFS’
            MOTION FOR § 705 RELIEF AND A PRELIMINARY INJUNCTION
    Case 1:24-cv-00161-LG-BWR Document 26 Filed 07/01/24 Page 2 of 19



                                                  TABLE OF CONTENTS




INTRODUCTION ............................................................................................................................... 1

ARGUMENT ........................................................................................................................................ 1

      I. Plaintiffs Are Likely to Succeed on the Merits. ................................................................... 1

            A. Plaintiffs can challenge the 2024 Rule now. .................................................................. 1

            B. The 2024 Rule is contrary to law and exceeds HHS’s statutory authority. ............... 3

            C. The 2024 Rule is contrary to the Spending Clause. ...................................................... 6

      II. The Balance of the Equities and Public Interest Both Favor Preliminary Relief. .......... 9

      III. The APA and Equity Support Entry of the Preliminary Relief Sought. ........................ 10

CONCLUSION................................................................................................................................... 10




                                                                        i
     Case 1:24-cv-00161-LG-BWR Document 26 Filed 07/01/24 Page 3 of 19




                                                TABLE OF AUTHORITIES


Cases                                                                                                                                 Page(s)

Abbott Labs. v. Gardner,
   387 U.S. 136 (1967) .......................................................................................................................... 2

Adams v. Sch. Bd. of St. Johns Cnty.,
   57 F.4th 791 (11th Cir. 2022) (en banc)..................................................................................... 3, 4

Axon Enter., Inc. v. FTC,
   598 U.S. 175 (2023) ...................................................................................................................... 2, 8

Benning v. Georgia,
    391 F.3d 1299 (11th Cir. 2004) ....................................................................................................... 6

Boe v. Marshall,
    2:22-cv-184-LCB-CWB (M.D. Ala.)............................................................................................... 7

Bostock v. Clayton Cnty.,
    590 U.S. 644 (2020) .......................................................................................................................... 4

Career Colls. & Sch. of Tex. v. Dep’t of Educ.,
    98 F.4th 220 (5th Cir. 2024) .......................................................................................................... 10

Chamber of Com. v. Dep’t of Labor,
   885 F.3d 360 (5th Cir. 2018) ........................................................................................................... 6

Cummings v. Premier Rehab Keller, P.L.L.C.,
   596 U.S. 212 (2022) .......................................................................................................................... 6

Eknes-Tucker v. Alabama,
   80 F.4th 1205 (11th Cir. 2023) ........................................................................................................ 9

Food & Drug Admin. v. All. for Hippocratic Med.,
    602 U.S. 367 (2024) .......................................................................................................................... 1

Gen. Land Off. v. Biden,
   71 F.4th 264 (5th Cir. 2023) ........................................................................................................ 1, 9

Inhance Techs., L.L.C. v. EPA,
    96 F.4th 888 (5th Cir. 2024) ............................................................................................................ 6

Kadel v. Folwell,
   100 F.4th 122 (4th Cir. 2024) (en banc)......................................................................................... 9


                                                                         ii
     Case 1:24-cv-00161-LG-BWR Document 26 Filed 07/01/24 Page 4 of 19



Kentucky v. Biden,
    23 F.4th 585 (6th Cir. 2022) ............................................................................................................ 9

L.W. v. Skrmetti,
   83 F.4th 460 (6th Cir. 2023) .......................................................................................................... 10

Louisiana v. EPA,
   No. 2:23-CV-00692, 2024 WL 250798 (W.D. La. 2024)............................................................. 2

Louisiana v. U.S. Dep’t of Educ.,
   No. 3:24-CV-00563-TAD, 2024 WL 2978786 (W.D. La. 2024)................................................ 3

Meriwether v. Hartop,
   992 F.3d 492 (6th Cir. 2021) ........................................................................................................... 3

W. Va. ex rel. Morrisey v. U.S. Dep’t of the Treasury,
   59 F.4th 1124 (11th Cir. 2023) ........................................................................................................ 1

National Federation of Independent Business v. Sebelius,
   567 U.S. 519 (2012) .......................................................................................................................... 6

Neese v. Becerra,
   640 F. Supp. 3d 668 (N.D. Tex. 2022)........................................................................................... 3

SEC v. Chenery Corp.,
  332 U.S. 194 (1947) .......................................................................................................................... 5

Tennessee v. Cardona,
   No. 2:24-cv-0072-DCR, 2024 WL 3019146 (E.D. Ky. 2024) .................................................... 3

Tennessee v. U.S. Dep’t of Educ.,
   No. 22-5807, 2024 WL 2984295 (6th Cir. 2024) .................................................................. passim

Tex. Educ. Dep’t v. U.S. Dep’t of Educ.,
    992 F.3d 350 (5th Cir. 2021) ........................................................................................................... 6

Texas v. Cardona,
   No. 4:23-cv-00604-O, 2024 WL 2947022 (N.D. Tex. 2024).................................................. 3, 9

Texas v. EPA,
   829 F.3d 405 (5th Cir. 2016) ........................................................................................................... 8

Texas v. United States,
   809 F.3d 134 (5th Cir. 2015) ........................................................................................................... 9

Util. Air Reg. Grp. v. EPA,
    573 U.S. 302 (2014) .......................................................................................................................... 5

Vote.org v. Callanen,
   39 F.4th 297 (5th Cir. 2022) ............................................................................................................ 9
                                                                        iii
      Case 1:24-cv-00161-LG-BWR Document 26 Filed 07/01/24 Page 5 of 19



Washington v. Glucksberg,
   521 U.S. 702 (1997) .......................................................................................................................... 9

Statutes

5 U.S.C. § 705 ......................................................................................................................................... 10

20 U.S.C. § 1683....................................................................................................................................... 2

42 U.S.C. § 1316(a) .................................................................................................................................. 2

42 U.S.C. § 1316(e) .................................................................................................................................. 2

42 U.S.C. § 1396a(a)(4)............................................................................................................................ 5

42 U.S.C. § 1397aa(a) .............................................................................................................................. 5

42 U.S.C. § 18116..................................................................................................................................... 2

Other Authorities

87 Fed. Reg. 47824 (Aug. 4, 2022) .................................................................................................... 5, 7

89 Fed. Reg. 37,522 (May 6, 2024) ..................................................................................... 3, 5, 7, 8, 10

HHS, HHS Issues New Rule to Strengthen Nondiscrimination Protections and Advance
  Civil Rights in Health Care (Apr. 26, 2024), https://perma.cc/GRZ6-LAN7 ............................ 1




                                                                            iv
        Case 1:24-cv-00161-LG-BWR Document 26 Filed 07/01/24 Page 6 of 19



                                                  INTRODUCTION

         HHS touted the 2024 Rule as a “giant step forward” in fighting gender-identity discrimination.1

Now that the States have challenged HHS’s “bold action” as patently unlawful, id., HHS dramatically

downplays the 2024 Rule’s gender-identity mandates. But the text of the rule, not HHS counsel’s

after-the-fact rationalization, controls. And the 2024 Rule expressly requires the steps—like dividing

medical spaces by gender identity rather than sex, providing controversial gender-transition interven-

tions, and subsidizing the same with state funds—the States now challenge. (If the 2024 Rule is not

in fact that broad, HHS must clearly say so on remand with reasoning that satisfies the APA.) HHS’s

effort to sidestep the 2024 Rule’s plain terms—or to avoid merits review altogether—speaks volumes

about the rule’s lack of legal basis. This Court should grant preliminary relief.

                                                     ARGUMENT

I.       Plaintiffs Are Likely to Succeed on the Merits.

         A.        Plaintiffs can challenge the 2024 Rule now.

         Standing. Standing is “easy to establish” in this case. Food & Drug Admin. v. All. for Hippocratic

Med., 602 U.S. 367, 367 (2024). That is because the “text of the [2024 Rule]” directly regulates the

States in their capacity as providers of medical care, facilities, and insurance plans. Tennessee v. Dep’t of

Educ., No. 22-5807, 2024 WL 2984295, at *5 (6th Cir. 2024). The 2024 Rule “proscribes their con-

duct” with new gender-identity mandates, which impose compliance costs and derogate state sover-

eignty. W. Va. Ex rel. Morrisey v. U.S. Dep’t of the Treasury, 59 F.4th 1124, 1136-38 (11th Cir. 2023). If

nothing else, since HHS agrees (at 23) that Tennessee has standing, this Court can review the 2024

Rule. Gen. Land Off. v. Biden, 71 F.4th 264, 271 (5th Cir. 2023).

         Implied Preclusion. Plaintiffs’ challenge is not reserved for agency proceedings. See Tennessee,




1 HHS, HHS Issues New Rule to Strengthen Nondiscrimination Protections and Advance Civil Rights in Health Care (Apr. 26, 2024),

https://perma.cc/GRZ6-LAN7.
                                                               1
       Case 1:24-cv-00161-LG-BWR Document 26 Filed 07/01/24 Page 7 of 19



2024 WL 2984295, *17-21; cf. Opp’n 21 n.14. None of the “enforcement mechanisms” Section 1557

incorporates, 42 U.S.C. § 18116, contains “a special statutory scheme” that forecloses this Court’s

review of HHS rules under the APA, e.g., Louisiana v. EPA, No. 2:23-CV-00692, 2024 WL 250798, at

*19 (W.D. La. 2024) (Title VI); Tennessee, 2024 WL 2984295, at *18 (Title IX). To the contrary, the

incorporated statutes specify that “agency action”—including rules—“shall be subject to such judicial

review as may otherwise be provided by law for similar action taken by such department or agency on

other grounds.” 20 U.S.C. § 1683. Directing that courts “shall” review rules as “provided by” the

APA is the opposite of a preclusive “special statutory review scheme.” Axon Enter., Inc. v. FTC, 598

U.S. 175, 185 (2023).

        Nor does the Social Security Act (“SSA”) implicitly strip this Court of jurisdiction to review

the Rule’s new requirements for Medicaid contracts with managed-care organizations. Opp’n 17-18

(invoking 42 U.S.C. § 1316(a), (e)). The SSA provisions HHS relies on have nothing to do with re-

viewing managed-care-plan contracts. HHS’s contrary reading, moreover, “could foreclose all mean-

ingful judicial review,” Axon, 598 U.S. at 190, since a private managed-care entity would need to agree

to a non-compliant contract with the States to provoke HHS retaliation. And HHS’s authority to

issue the challenged gender-identity mandates is “wholly collateral” to the agency process and has

“nothing to do with the … matters” at issue in CMS’s reimbursement adjudications. Id. at 193.

        Ripeness. HHS argues (at 7) that “judicial review” should wait until HHS determines that a

particular law or policy violates Section 1557 “and completion of … administrative procedures.” But

that would “immunize nearly all agency rulemaking activities from the coverage” of the APA. Abbott

Labs. v. Gardner, 387 U.S. 136, 147 (1967). That is not the law, and Plaintiffs’ challenge is ripe. The

issues are “fit for judicial resolution,” id. at 153, and hinge on a core question of law: Whether Section

1557 incorporates Bostock’s reasoning to cover gender-identity discrimination. The 2024 Rule further

threatens Plaintiffs with the loss of billions of dollars in federal funds. See Tennessee, 2024 WL 2984295,

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        Case 1:24-cv-00161-LG-BWR Document 26 Filed 07/01/24 Page 8 of 19



at *17 (holding States could pursue pre-enforcement challenge to agency action that risked loss of

funding). Plaintiffs “need not assume such risks while waiting for [HHS] to drop the hammer.” Id.

         Neese v. Becerra. The decision in Neese, 640 F. Supp. 3d 668 (N.D. Tex. 2022), does not cut off

review here. First, Neese did not issue injunctive relief, id. at 684, so nothing in that case blocks HHS

from enforcing the 2024 Rule against the States. If HHS disagrees, then the 2024 Rule should be set

aside as arbitrarily ignoring a binding directive that it is unlawful. Second, Neese addressed only HHS’s

2021 guidance—not the 2024 Rule. Third, there is little reason to believe that Neese’s certified class

of physicians extends to the States. It certainly does not include the States’ Medicaid, CHIP, or other

state-sponsored health plans. Fourth, HHS’s promise to not apply “the challenged interpretation” of

Section 1557 (the 2021 guidance) against Neese class members “pending appeal,” 89 Fed. Reg. at 37,574

n.118, is empty since its delayed enforcement does not necessarily permit delayed compliance. HHS’s “vol-

untary cessation” of enforcement must be disregarded. Tennessee, 2024 WL 2984295, at *5 n.8.

         B.       The 2024 Rule is contrary to law and exceeds HHS’s statutory authority.

         Contrary to Law. Section 1557’s prohibition on sex discrimination does not encompass “gender

identity.” PI Br. 11-12. HHS makes no serious attempt to reconcile the male/female language in Title

IX and the ACA with “gender identity” in the 2024 Rule. Opp’n 7-10. Instead, HHS relies on Bostock

for the proposition that sex discrimination equals gender-identity discrimination. See id. But Bostock

neither says nor means that any statutory reference to “sex” likewise prohibits gender-identity discrim-

ination, see PI Br. 12-14, as a raft of courts have recently concluded.2

         HHS’s reading makes a hash of Title IX, which throughout allows for different treatment of

males and females because of biological differences between the sexes, see Compl. ¶¶ 52-53, which are

relevant in education and medicine, but not employment, see Adams v. Sch. Bd. of St. Johns Cnty., 57


2 See, e.g., Tennessee v. Cardona, No. 2:24-cv-0072-DCR, 2024 WL 3019146, at *9-13 (E.D. Ky. 2024); Texas v. Cardona, No.

4:23-cv-00604-O, 2024 WL 2947022, at *28 (N.D. Tex. 2024); Louisiana v. U.S. Dep’t of Educ., No. 3:24-CV-00563-TAD,
2024 WL 2978786, at *11 (W.D. La. 2024); see also Meriwether v. Hartop, 992 F.3d 492, 510 n.4 (6th Cir. 2021).
                                                           3
       Case 1:24-cv-00161-LG-BWR Document 26 Filed 07/01/24 Page 9 of 19



F.4th 791, 814 n.7 (11th Cir. 2022) (en banc). Yet HHS (at 10) asks this Court to ignore the surround-

ing provisions and implementing regulations of Title IX and just pluck out the term “sex.” But what

constitutes “discrimination” for purposes of Title IX (and thus Section 1557) is informed by the Act

in its entirety. Section 1557 thus uses “et seq.” when incorporating Title IX, which imports that

Section 1557 incorporates all of Title IX. PI Br. 14. HHS offers no response.

        HHS’s remaining attempts to square Bostock with Title IX and Section 1557 fail too. HHS

insists (at 3, 10, 15) that covered entities may “operat[e] sex separated programs and facilities.” At the

same time, the Final Rule makes clear that refusing to place a transgender person “in facilities con-

sistent with their gender identity” is actionable discrimination per se. 89 Fed. Reg. at 37,593. This view

renders any allowance for sex-separation “meaningless.” Adams, 57 F.4th at 813. A “sex-separation”

policy that must give way to patients’ gender-identity preferences does not “allow” sex-separation—

just gender-identity-based separation. Nor can HHS’s new de minimis harm standard change what

discrimination entails: treatment of a person that is “worse than others who are similarly situated.” Bostock

v. Clayton Cnty., 590 U.S. 644, 657 (2020) (emphasis added). A woman and a man who identifies as a

woman are not “similarly situated” for purposes of seeking certain medical treatments, like a vagi-

noplasty. PI Br. 14-16. The 2024 Rule’s failure to abide this blackletter tenet renders it unlawful.

        Exceeds Authority. The 2024 Rule exceeds HHS’s authority by requiring doctors to provide and

insurers to cover gender-transition treatments. PI Br. 17-19. HHS counters (at 4) that “no § 1557

violation occurs where the denial of a service [or coverage] is based on ‘a legitimate, nondiscriminatory

reason,’ and not ‘unlawful animus or bias’ or ‘pretext for discrimination.’” So, HHS says (at 14), the

States are wrong to “presuppose” that the rule directs gender-identity related treatments or coverage.

        HHS cannot so easily misdirect from what the 2024 Rule plainly requires. The rule’s text

makes clear that a categorical refusal to provide or cover gender-transition treatments—as required by

the laws and health plans maintained by many of the Plaintiff States—is prohibited discrimination. See,

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      Case 1:24-cv-00161-LG-BWR Document 26 Filed 07/01/24 Page 10 of 19



e.g., 89 Fed. Reg. at 37,701 (to be codified at 45 C.F.R. §§ 92.206(b)(4), 92.207(b)(4)-(5)) (illegal to

“[d]eny or limit” services for gender transition “that the covered entity would provide for other pur-

poses” or to maintain “categorial coverage exclusion” that “results in discrimination based on sex”).

HHS’s brief (at 12, 14) confirms this no-categorial-exclusion reading by stressing the need for “par-

ticular patient” determinations. HHS’s touted revisions (at 12-13) thus accomplish the same result—

outlawing providers and States from categorically denying treatment—through subtext. Such a read-

ing not only aligns with the 2024 Rule’s continued directive that it will “preempt” contrary state law,

see 89 Fed. Reg. at 37,535; it also reflects the recent litigation position of the Department of Justice,

which has argued that “categorical exclusion[s] of gender-affirming care” violate Medicaid and Section

1557. Brief for United States as Amicus Curiae 19-25 & 21 n.8, Dekker v. Sec’y, Fla. Agency for Health

Care Admin., No. 23-12155 (11th Cir. Dec. 4, 2023). Nor can health plans deny such procedures for

certain non-discriminatory reasons—like their being “experimental or cosmetic.” NPRM, 87 Fed.

Reg. at 47,874. HHS has already opined that such designations “would be considered evidence of

pretext” and “result in prohibited discrimination.” Id. HHS’s brief cannot walk back the 2024 Rule’s

requirements now. See SEC v. Chenery Corp., 332 U.S. 194, 196 (1947).

        HHS claims (at 17) that because it has rulemaking authority to implement the SSA, its Medi-

caid and CHIP rules must be lawful. That is not how agency authority works. HHS’s rulemaking

power is instead constrained by limits Congress placed within the SSA. See Util. Air Reg. Grp. v. EPA,

573 U.S. 302, 328 (2014). For example, HHS must ensure that participants’ “methods of administra-

tion” are “necessary for the proper and efficient operation of the plan,” 42 U.S.C. § 1396a(a)(4), and

that States “initiate and expand the provision of child health assistance … in an effective and efficient

manner,” id. § 1397aa(a). But the 2024 Rule’s gender-identity mandates are not “methods of admin-

istration,” nor are they means of ensuring “effective and efficient” provision of child health assistance.

PI Br. 19-20. They are substantive mandates. Congress would not have hidden the “elephant[]” of

                                                    5
      Case 1:24-cv-00161-LG-BWR Document 26 Filed 07/01/24 Page 11 of 19



across-the-board gender-identity mandates on States in the “mousehole[]” of Medicaid-program mi-

nutiae. Chamber of Com. v. Dep’t of Labor, 885 F.3d 360, 376 (5th Cir. 2018). And parties’ prior failure

to challenge distinct HHS actions does not short circuit the States’ right to obtain review of HHS’s

novel gender-identity mandates through this timely challenge. Cf. Opp’n 17.

        C.      The 2024 Rule is contrary to the Spending Clause.

        The 2024 Rule violates the Spending Clause by unveiling new, extra-statutory gender-identity

conditions and unlawfully coercing States with billions of dollars in Medicaid funding. PI Br. 20-22.

        HHS’s proposed private-suit limit (at 18) on the clear-statement rule defies law and logic—

and the case HHS cites observed that a spending-program grantee needs to know “what rules it must

follow,” not just “what sort of penalties might be on the table.” Cummings v. Premier Rehab Keller,

P.L.L.C., 596 U.S. 212, 220 (2022). Nor did Section 1557’s limit on “sex” discrimination generally

put States on notice of HHS’s “gender-identity” rule specifically. Cf. Opp’n 18-19. HHS admits as

much by repeating that “[t]he Rule … clarifies § 1557’s scope in light of Bostock.” Id. at 19. A provision

that “unambiguously condition[s] a federal grant” needs no clarifying. Tex. Educ. Dep’t v. U.S. Dep’t of

Educ., 992 F.3d 350, 360 (5th Cir. 2021). Contra HHS (at 19), there is no nondiscrimination exception

to the clear-statement rule. The basis for discrimination must be “clear and actionable”—even if what

actions qualify as discriminatory conduct on that basis requires case-by-case analysis. See Benning v.

Georgia, 391 F.3d 1299, 1306 (11th Cir. 2004). Last, HHS casts off National Federation of Independent

Business v. Sebelius, 567 U.S. 519 (2012), as “one-of-a-kind.” Opp’n 20. Maybe it was—but only until

the 2024 Rule again threatened billions in States’ Medicaid funding. PI Br. 21-22. Here, as in NFIB,

“[t]he threatened loss” of the States’ Medicaid funding is unlawful “economic dragooning that leaves

the States with no real option.” 567 U.S. at 581 (plurality opinion). These Spending Clause concerns

underscore the implausibility of HHS’s interpretation of Title IX and Section 1557. See Inhance Techs.,

L.L.C. v. EPA, 96 F.4th 888, 893 (5th Cir. 2024) (discussing avoidance).

                                                    6
      Case 1:24-cv-00161-LG-BWR Document 26 Filed 07/01/24 Page 12 of 19



        D.      The 2024 Rule is arbitrary and capricious.

        HHS (at 20) continues to insist the Rule imposes no “standard of care” or “attempt to supplant

the medical judgment of healthcare professionals.” The Rule’s plain text disagrees. Supra at 4-5.

        HHS’s insistence (at 20) that the Rule’s gender-identity mandates do not implicate WPATH’s

so-called “standards of care” likewise rings hollow, given the agency’s reliance on those standards to

define “gender transition or gender affirming care,” see NPRM, 87 Fed. Reg. at 47,867 & n.416, and

its citation to the same in explaining that “[g]ender-affirming care … should follow clinical practice

guidelines and professional standards of care,” id. at 47,868 & n.423.

        Like the Final Rule, HHS’s brief stays mum on the harmful and lifelong effects of gender-

transition treatments. This silence is telling, but not surprising. After all, discovery in a case involving

Alabama’s restrictions on transitioning interventions for minors has revealed that HHS itself rushed

WPATH to publish the latest version of its “standards” in 2022 in order to show “policy progress”

for the Biden Administration; HHS further urged WPATH to remove all recommended age mini-

mums for transitioning treatments. See Boe v. Marshall, 2:22-cv-184-LCB-CWB (M.D. Ala.), Doc. 619

at 19-20. The APA required HHS to grapple with this contrary evidence, not ignore it. PI Br. 22.

II.     Plaintiffs Will Be Irreparably Harmed Absent Injunctive Relief.

        Starting July 5, the 2024 Rule requires the States—as directly regulated parties—to come into

compliance with its gender-identity mandates. To do so, States will need to expend unrecoverable

compliance costs altering policies, PI Br. 22, abandon enforcement of their own contrary laws and

regulations that fall within HHS’s new definition of sex-based “discrimination,” 89 Fed. Reg. at 37,699

(to be codified at 45 C.F.R. § 92.101), and provide “assurances” of their compliance, id. at 37,696 (to

be codified at § 92.5). Failure to do so risks the loss of billions of dollars in federal funding designed

to help some of the States’ neediest citizens. All of this is textbook irreparable harm. PI Br. 23-25.

        HHS (at 22, 25) argues that any harm to the States is “speculative and not imminent” because

                                                     7
      Case 1:24-cv-00161-LG-BWR Document 26 Filed 07/01/24 Page 13 of 19



the States might be able “to demonstrate a legitimate, nondiscriminatory reason” for any law or policy

that conflicts with the 2024 Rule during a future investigation or enforcement action. Of course, the

“upshot of winning this claim is that the States shouldn’t be subjected to administrative investigations

or proceedings at all.” Tennessee, 2024 WL 2984295, at *20. Regardless, the 2024 Rule makes the result

of any future enforcement a foregone conclusion: It sets a binding HHS mandate that Plaintiff States’

laws prohibiting and categorical coverage exclusions for gender-transition services are unlawful. See

supra at 4-5. As discussed, the States “need not await enforcement proceedings before challenging

final agency action where such proceedings carry the risk of ‘serious … civil penalties.’” Tennessee,

2024 WL 2984295, at *17 (citation omitted). Because the Final Rule means States “will continue to

face pressure to change their laws to avoid legal consequences,” it inflicts irreparable injury. Id. at *25.

        Reality obliterates HHS’s assertion (at 27) that States would not incur any compliance costs

until they are in the throes of an enforcement action. Compliance with the 2024 Rule’s gender-identity

mandates will require the States to expend significant, unrecoverable sums now. See PI Br. 22-23. The

2024 Rule concedes the point. 89 Fed. Reg. at 37,679-82. The Rule’s “immediate effects on the States’

ordering of their own affairs” is a “here-and-now injury.” Tennessee, 2024 WL 2984295, at *17 (quoting

Axon, 598 U.S. at 191. HHS’s counter (at 27 n. 20) that other provisions may impose additional costs

in the form of updating policies or providing training does not erase the harm from the gender-identity

mandates. HHS’s view would shield any manner of unlawful regulations from challenge so long as

packaged alongside a few benign provisions. But “complying with a regulation later held invalid al-

most always produces the irreparable harm of nonrecoverable compliance costs.” Texas v. EPA, 829

F.3d 405, 433 (5th Cir. 2016) (emphasis in original).

        HHS (at 27) denies that States’ health plans would incur increased coverage costs because the

Rule purportedly does not endorse or impose any “standard of care” for gender transition. But again,

that contradicts the Rule’s plain text, which prohibits the very “categorical coverage exclusions” for

                                                     8
      Case 1:24-cv-00161-LG-BWR Document 26 Filed 07/01/24 Page 14 of 19



gender-transition services featured in many of the Plaintiffs’ health plans. Supra at 4-5. Saying that

States cannot maintain exclusions for gender-transition procedures and that States must cover them

is the flip side of the same coin. Indeed, that is a key holding of Section 1557 cases on which HHS

relies. E.g., Kadel v. Folwell, 100 F.4th 122, 135-39, 164 (4th Cir. 2024) (en banc) (cited at Opp’n 9, 12).

        HHS’s assertion (at 23) that only Tennessee has standing to challenge the 2024 Rule’s man-

dates on “healthcare providers” gets it nowhere, since “only one [State] needs standing for the action

to proceed.” Gen. Land Off., 71 F.4th at 271. In any event, HHS ignores the sovereign harm to all

Plaintiff States from the 2024 Rule’s stripping them of their traditional authority to establish and en-

force their own laws regulating the practice of medicine within their borders. See Texas, 2024 WL

2947022 at *49. Section 92.206 would require doctors to provide gender-transition services in viola-

tion of laws adopted by most all the Plaintiff States. Compl. ¶¶ 107-36. The 2024 Rule’s overriding

of “statutes enacted by representatives of [the States’] people” inflicts a quintessential “irreparable

injury” on States’ sovereignty. Vote.org v. Callanen, 39 F.4th 297, 308 (5th Cir. 2022) (citation omitted).

        HHS’s last assertion (at 28) that the States “cannot invoke the health and welfare of their

citizens” overlooks the States’ “quasi-sovereign interest in the ‘health and well-being … of [their]

residents in general.’” Kentucky v. Biden, 23 F.4th 585, 599 (6th Cir. 2022) (citation omitted). That

interest encompasses safeguarding children from treatments for which there is “uncertainty regarding

benefits, recent surges in use, and irreversible effects,” Eknes-Tucker v. Alabama, 80 F.4th 1205, 1225

(11th Cir. 2023), and “protecting the integrity and ethics of the medical profession,” Washington v.

Glucksberg, 521 U.S. 702, 731 (1997); see also Texas v. United States, 809 F.3d 134, 153 (5th Cir. 2015).

II.     The Balance of the Equities and Public Interest Both Favor Preliminary Relief.

        The public interest overwhelmingly favors temporarily staying the status quo pending judicial

review. PI Br. 25. HHS (at 28) insists there is “significant public interest in permitting enforcement

of the Rule to combat discrimination” by covered entities. But “the public’s true interest lies in the

                                                     9
       Case 1:24-cv-00161-LG-BWR Document 26 Filed 07/01/24 Page 15 of 19



correct application of the law.” Tennessee, 2024 WL 2984295 at *26. And the States have shown that

the 2024 Rule’s conception of discrimination is unlawful. The public interest likewise favors address-

ing difficult gender-identity issues through “[e]lected representatives” and state-and-local policy, L.W.

v. Skrmetti, 83 F.4th 460, 491 (6th Cir. 2023), not through an agency-made mandate. That is particularly

so when what is at stake are unproven gender interventions with life-long effects. Compl. ¶¶ 87-104.

III.    The APA and Equity Support Entry of the Preliminary Relief Sought.

        Section 705 of the APA authorizes a reviewing court to “issue all necessary and appropriate

process to postpone the effective date of an agency action” that is pending review. 5 U.S.C. § 705.

And HHS’s relief argument (at 30) supports enjoining all of the 2024 Rule’s gender-identity mandates,

which the Plaintiff States “actually challenge.” PI Br. 2. HHS is wrong to suggest Plaintiffs’ argument

implicates only § 92.101(a)(2)(iv)—i.e., the provision defining sex discrimination to include gender-

identity discrimination. Rather, gender-identity mandates appear throughout the 2024 Rule. For ex-

ample, proposed § 92.206 never references § 92.101, yet prohibits doctors from refusing to provide

gender-transition services if they provide similar treatments “for other purposes.” Likewise, § 92.207

itself prohibits a “categorical coverage exclusion” for gender-transition services in covered health

plans. HHS’s gender-identity mandates are embedded in other provisions, too—including the 2024

Rule’s requirements regarding assurances of compliance, remedial actions, coordinator investigations,

the revision of policies and procedures, and training. Principles of equity counsel in favor of issuing

temporary relief from the Rule’s challenged provisions to avoid States and providers’ needing to parse

through piecemeal provisions and engage in multiple rounds of costly compliance activities. That relief

should have the breadth appropriate to avoid any harm the Rule may improperly inflict. Cf. Career

Colls. & Sch. of Tex. v. Dep’t of Educ., 98 F.4th 220, 255 (5th Cir. 2024).

                                            CONCLUSION

        The Court should grant Plaintiff States’ motion for a § 705 stay and a preliminary injunction.

                                                     10
      Case 1:24-cv-00161-LG-BWR Document 26 Filed 07/01/24 Page 16 of 19



Date: July 1, 2024.                           Respectfully submitted,




 LYNN FITCH                                   JONATHAN SKRMETTI
  Attorney General                            Attorney General & Reporter

 /s/ Scott G. Stewart                         /s/ Steven J. Griffin
 SCOTT G. STEWART                             STEVEN J. GRIFFIN
   Solicitor General                           Senior Counsel for Strategic Litigation
   Bar No. 106359                              Bar No. 103218
 JUSTIN L. MATHENY                            WHITNEY HERMANDORFER*
   Deputy Solicitor General                    Director of Strategic Litigation
   Bar No. 100754                             HARRISON GRAY KILGORE*
 MISSISSIPPI ATTORNEY GENERAL’S OFFICE         Strategic Litigation Counsel and Assistant Solicitor
 P.O. Box 220                                 General
 Jackson, Mississippi 39205                   OFFICE OF THE TENNESSEE ATTORNEY
 (601) 359-3680                               GENERAL
 scott.stewart@ago.ms.gov                     P.O. Box 20207
                                              Nashville, Tennessee 37202
 justin.matheny@ago.ms.gov
                                              (615) 741-3491
 Counsel for Plaintiff State of Mississippi   steven.griffin@ag.tn.gov
                                              whitney.hermandorfer@ag.tn.gov
                                              harrison.kilgore@ag.tn.gov
                                              Counsel for Plaintiff State of Tennessee


  STEVE MARSHALL                                CHRISTOPHER CARR
   Attorney General                              Attorney General

  /s/ A. Barrett Bowdre                         /s/ Stephen Petrany
  A. BARRETT BOWDRE*                            STEPHEN PETRANY*
    Principal Deputy Solicitor General            Solicitor General
  OFFICE OF THE ATTORNEY GENERAL                OFFICE OF THE ATTORNEY GENERAL OF
  STATE OF ALABAMA                              GEORGIA
  501 Washington Avenue                         Georgia Department of Law
  P.O. Box 300152                               40 Capitol Square SW
  Montgomery, Alabama 36130-0152                Atlanta, Georgia 30334
  (334) 242-7300                                (404) 458-3408
  barrett.bowdre@AlabamaAG.gov                  spetrany@law.ga.gov
  Counsel for Plaintiff State of Alabama        Counsel for Plaintiff State of Georgia




                                              11
    Case 1:24-cv-00161-LG-BWR Document 26 Filed 07/01/24 Page 17 of 19



THEODORE E. ROKITA                                KRIS W. KOBACH
 Attorney General                                  Attorney General

/s/ James A. Barta                                /s/ Jay Rodriguez
JAMES A. BARTA*                                   JAY RODRIGUEZ*
  Solicitor General                                 Assistant Attorney General
INDIANA ATTORNEY GENERAL’S OFFICE                 OFFICE OF THE KANSAS ATTORNEY
IGCS – 5th Floor                                  GENERAL
302 W. Washington St.                             120 SW 10th Ave.
Indianapolis, Indiana 46204                       Topeka, Kansas 66612
(317) 232-0709                                    (785) 296-4733
James.Barta@atg.in.gov                            jay.rodriguez@ag.ks.gov
Counsel for Plaintiff State of Indiana            Counsel for Plaintiff State of Kansas


RUSSELL COLEMAN                                   ELIZABETH B. MURRILL
 Attorney General                                  Attorney General

/s/ Justin D. Clark                               /s/ J. Benjamin Aguiñaga
JUSTIN D. CLARK*                                  KELSEY SMITH**
   Civil Chief                                      Deputy Solicitor General
LINDSEY R. KEISER**                               OFFICE OF THE LOUISIANA ATTORNEY
  Assistant Attorney General                      GENERAL
COMMONWEALTH OF KENTUCKY                          1885 N. 3rd St.
OFFICE OF THE ATTORNEY GENERAL                    Baton Rouge, Louisiana 70802
700 Capital Avenue, Suite 118                     smithkel@ag.louisiana.gov
Frankfort, Kentucky 40601                         Counsel for Plaintiff State of Louisiana
(502) 696-5300
justind.clark@ky.gov
lindsey.keiser@ky.gov
Counsel for Plaintiff Commonwealth of Kentucky


MICHAEL T. HILGERS                                DAVE YOST
 Attorney General                                  Attorney General

/s/ Lincoln J. Korell                             /s/ T. Elliot Gaiser
LINCOLN J. KORELL*                                T. ELLIOT GAISER*
   Assistant Solicitor General                      Solicitor General
OFFICE OF THE ATTORNEY GENERAL OF                 OFFICE OF THE OHIO ATTORNEY GENERAL
NEBRASKA                                          30 East Broad Street, 17th Floor
2115 State Capitol                                Columbus, Ohio 43215
Lincoln, Nebraska 68509                           (614) 466-8980
(402) 471-2682                                    Thomas.Gaiser@ohioago.gov
lincoln.korell@nebraska.gov                       Counsel for the State of Ohio
Counsel for Plaintiff State of Nebraska


                                                 12
    Case 1:24-cv-00161-LG-BWR Document 26 Filed 07/01/24 Page 18 of 19



GENTNER DRUMMOND                               ALAN WILSON
Attorney General                                Attorney General

/s/ Garry M. Gaskins, II                       /s/ Thomas T. Hydrick
GARRY M. GASKINS, II**                         THOMAS T. HYDRICK*
  Solicitor General                              Assistant Deputy Solicitor General
OKLAHOMA OFFICE OF THE ATTORNEY                OFFICE OF THE ATTORNEY GENERAL
GENERAL                                        OF SOUTH CAROLINA
313 NE 21st Street                             1000 Assembly Street
Oklahoma City, Oklahoma 73105                  Columbia, South Carolina 29201
(405) 312-2451                                 (803) 734-4127
Garry.Gaskins@oag.ok.gov                       thomashydrick@scag.gov
Counsel for the State of Ohio                  Counsel for Plaintiff State of South Carolina


MARTY J. JACKLEY                               JASON S. MIYARES
 Attorney General                                Attorney General

/s/ Clifton Katz                               /s/ Kevin M. Gallagher
CLIFTON KATZ*                                  KEVIN M. GALLAGHER*
  Assistant Attorney General                     Principal Deputy Solicitor General
OFFICE OF THE ATTORNEY GENERAL                 BRENDAN T. CHESTNUT*
STATE OF SOUTH DAKOTA                           Deputy Solicitor General
1302 E. Hwy. 14, Suite #1                      VIRGINIA ATTORNEY GENERAL’S OFFICE
Pierre, South Dakota 57501                     202 North 9th Street
(605) 773-3215                                 Richmond, Virginia 23219
clifton.katz@state.sd.us                       (804) 786-2071
Counsel for Plaintiff State of South Dakota    kgallagher@oag.state.va.us
                                               bchestnut@oag.state.va.us
                                               Counsel for Plaintiff Commonwealth of Virginia


PATRICK MORRISEY                               *Admitted Pro Hac Vice
 Attorney General                              **Pro Hac Vice Application Pending

/s/ Michael R. Williams
MICHAEL R. WILLIAMS*
  Principal Deputy Solicitor General
OFFICE OF THE ATTORNEY GENERAL OF
WEST VIRGINIA
State Capitol Complex
Building 1, Room E-26
Charleston, WV 25301
(304) 558-2021
michael.r.williams@wvago.gov
Counsel for Plaintiff State of Virginia


                                              13
       Case 1:24-cv-00161-LG-BWR Document 26 Filed 07/01/24 Page 19 of 19



                                   CERTIFICATE OF SERVICE

        I hereby certify that on July 1, 2024, a true and correct copy of the foregoing document was

filed using the Court’s electronic court-filing system, which sent notice of filing to all counsel of rec-

ord.

                                                  /s/ Steven J. Griffin
                                                  STEVEN J. GRIFFIN




                                                   14
